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                                                                                                                        U.S. DISTRICT COURT
                                             Huntsville Council of Parent Teacher Associations
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                                                                                                                            N.D. OF ALABAMA




Mailing Address:                          April 30, 2014
P.O. Box 18762
Huntsville, AL 35804


                                          The Honorable Madeline Hughes Haikala
                                          United States District Court
                                          Hugo L. Black U. S. Courthouse
2012/2013 Officers                        1729 Fifth Avenue North
Elisa Ferrell                             Birmingham, AL 35203
l'n:sidenl

Chaundra Jones                            Dear Judge Haikala:
Vzid'mident Afemberrhip

Prccti Francis                            The Executive Board of the Huntsville Council of PTAs is comprised of parents who have
i 'ice-l'nsident I1f!,islati1e /ljfairr   children in every school district of Huntsville City Schools. We are a diverse group of
;\nn KYach                                individuals with. varying racial and educational backgrounds. Some of us have elementary-
Vzid'resident I ·amity I on,~'{~ement
                                          age children, some have children in middle and high school, and some have children who
Kathie Rooker                             have already graduated from the system. What we do have in common is that we highly
v,;,.J'resident '/ echnology
                                          value education and always strive to advocate for what is best for children throughout the
Debbie Tetrault                           system. Many of us are either currently serving as PTA Presidents or have served as PTA
Secretary
                                          Presidents at our children's schools. We volunteer regularly as tutors in the classroom,
I .ayna Payne
Treaxurer                                 assist in the school office, and coordinate various other school activities. Being Council
                                          Board members we are frequently asked to assist with issues or events at schools
l\lch·in Scruggs
Co11ir..:•1ims Mana.~er                   throughout the district. Consequently, we have an extensive knowledge of what occurs at
                                          schools throughout the district. In addition, most of us attend Huntsville City Schools
                                          Board of Education meetings on a regular basis and have done so for years. As such we
                                          have a unique insight into the state of Huntsville City Schools at all levels of the
                                          organization.

                                          Through these years of involvement with Huntsville City Schools we have seen evidence
                                          that leads us to believe that the Huntsville City Schools Board of Education and the
                                          Superintendent, Dr. Casey Wardynski, are committed to providing the same opportunities
                                          to all children throughout our large school system regardless of race or socioeconomic
                                          status. The following are some examples that we consider evidence of this commitment.
                                          However, this is not an exhaustive list.

                                          First, Huntsville City Schools undertook the Digital 1: 1 Initiative in school year 2012-
                                          2013. Through this initiative every child enrolled in Huntsville City Schools received
                                          either a laptop or an iPad based on their grade. All textbooks are digital and loaded onto
                                          the computers, and all schools were equipped with wireless access so that all children had
                                          access to a vast array of learning materials. This has helped children from all over the
                                          district have access to the same educational materials. In addition, the school system
                                          worked with the city to provide internet access at various community centers so that the
                                          children who did not have access at home could still have internet access after-hours.
                                          They also made parents aware of ways to subscribe to extremely low-cost internet access.
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   Further, teachers instruct children about appropriate computer and internet use. This initiative appears to be helping
   us narrow the digital divide so that all graduates of Huntsville City Schools will be familiar and comfortable with
   digital technology when they graduate. Further, it has helped teachers personalize the education our children receive.
   By using these digital tools, all high school students enrolled in Huntsville City Schools also have access to free
   online ACT preparatory materials. Once again, this gives every child who graduates from Huntsville City Schools
   an opportunity to be well prepared for this college entrance exam regardless of where they live and whether their
   parents can afford to pay for these preparatory classes.

   Second, this summer, credit recovery classes will be offered at our northernmost and southernmost high schools free
   of charge. Thus, students throughout the district who need to enroll in the credit recovery program will have access
   to these classes regardless of whether their parents are able to pay for them to attend. In addition, Project Lead the
   Way (a project-based method of teaching Science, Technology, Engineering and Mathematics) will be implemented
   in every elementary and middle school in Huntsville City Schools this fall.

   Third, Huntsville City Schools pays stipends not only to teachers who coach athletic teams but also to those who
   coach academic teams at every school from elementary school to high school. Once again, this gives every child
   enrolled in the system the opportunity to challenge him or herself and supports teachers who are engaged in this
   effort.

   In addition to our children's academic well-being, Huntsville City Schools has made efforts to improve their
   physical well-being as well. Huntsville City Schools has undertaken various capital improvement projects at schools
   across the city. All facilities were assessed and their needs determined. Based on this assessment, some schools have
   been repainted and had flooring replaced, some schools have had extensive renovations, and some others are in the
   process of getting entirely new facilities. Further, understanding that hungry children will not be able to learn they
   have instituted the Breakfast in the Classroom program in all Title One schools in the system. All students at
   participating schools eat breakfast with their teacher in the classroom before instruction begins. Recognizing that
   children must be well fed even when school is not in session, Huntsville City Schools has enrolled in the United
   States Department of Agriculture's Summer Feeding Program. This makes it possible for all children regardless of
   race or socioeconomic status to eat three hot meals a day at no cost. Adults who attend can also eat at a very low
   cost.

   Based on these actions our Board is of the op1mon that Huntsville City Schools Board of Education and
   Superintendent, Dr. Casey Wardynski, are committed to ensuring that all children enrolled in Huntsville City
   Schools have the opportunity to pursue an excellent education that prepares them for the workplace of the 21st
   century, regardless of their race or socioeconomic status. Our Board is comprised of seven members. Of these, six
   have children enrolled in schools that will be significantly impacted by the proposed rezoning plan of Huntsville
   City Schools. We take the actions described above as evidence that our Board of Education and Superintendent have
   taken steps to ensure that all children will continue to receive an excellent education. This will be a difficult but
   necessary step as we move away from our past and look toward the future.




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    Preeti Francis, Vice-President, Legislation        Ann Kvach, Vice-President, Family Engagement




    Kathie Rooker, Vice-President, Technology          Layna Payne, Treasurer




    Debbie Tetrault, Secretary




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                                 CERTIFICATE OF SERVICE


I hereby certify that on May 1, 2014, I mailed the foregoing document through the United States

Post Office by Priority Mail to counsel for the parties in this case with names, addresses, email

addresses and tracking numbers listed below.     I also certify that the foregoing was also

transmitted electronically to counsel for the parties in the case at the below referenced email

addresses.


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